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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 Animal Legal Defense Fund; and                  Case No. 17-cv-4496
 Lockwood Animal Rescue Center,

                               Plaintiffs,
                                             JOINT MOTION REGARDING
 v.                                          CONTINUED SEALING

 Fur-Ever Wild; Wolves, Woods &
 Wildlife; and Teresa Lynn Petter,


                             Defendants.




                       Joint Motion Regarding Continued Sealing



      Documents have been filed under temporary seal in connection with the following

motion: Plaintiffs’ Motion to Strike Errata Sheet (ECF No. 147).

      Pursuant to LR 5.6, the parties submit this Joint Motion Regarding Continued

Sealing. Parties agree that the documents filed in this case with ECF numbers 149, 152,

154, and 156 should be unsealed because Defendants have voluntarily removed the

protective designation from Mr. Shimp’s deposition.




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             DESCRIPTION OF DOCUMENT      MARK “X” IN APPLICABLE COLUMN           NONPARTY THAT        REASON WHY DOCUMENT SHOULD
DKT. NO.                                                                          DESIGNATED DOC.      REMAIN SEALED OR BE UNSEALED
                                                                                  CONFIDENTIAL (IF
                                                                                       ANY)
                                           Parties     Parties Agree    Parties
                                          Agree Doc.    Doc. Should    Disagree
                                           Should      Be Unsealed
                                           Remain
                                            Sealed
149        Plaintiffs’ Memorandum in                        X                                        The memorandum was initially
           Support of Motion to Strike                                                               sealed because Mr. Shimp’s
           Errata Sheet                                                                              deposition was designated attorneys
                                                                                                     eyes only. It should be unsealed
                                                                                                     because Defendants have voluntarily
                                                                                                     removed the protective designation
                                                                                                     from Mr. Shimp’s deposition.

152        Adam Shimp’s Deposition                          X                                        The transcript should be unsealed
           Transcript                                                                                for the reason stated above.

154        Adam Shimp’s Original Errata                     X                                        The sheet should be unsealed for the
           Sheet                                                                                     reason stated above.

156        Adam Shimp’s Amended Errata                      X                                        The sheet should be unsealed for the
           Sheet                                                                                     reason stated above.




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Respectfully submitted,

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